             4:10-cr-03031-RGK-CRZ                      Doc # 70          Filed: 04/19/10              Page 1 of 1 - Page ID # 99

" AO 472 (Rev. 3186) Order ofDetention Pending Trial


                                       UNITED STATES DISTRICT COURT
                                                                    District of                                    Nebraska
         UNITED STATES OF AMERICA
                              v.                                               ORDER OF DETENTION PENDING TRIAL
             DANTE E. VICHARRA                                               Case Nwnber: 4:10CR3031
                          Defendnnt
    In accordance with the Bail Reform Act, 18 U.S.C. § 3142(1), a detention hearing has been held. I conclude that the following facts require the
detention ofthe defendant pending trial in this case.
                                                              Part I-Findings of Fact
o (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(1)(1) and has been convicted ofa 0 federal offense 0 state
      or local offense that would have been a federal offense ifa circumstance giving rise to federal jurisdiction had existed  that is
      o a crime of violence as defined in 18 U.S.C. § 3 156(a)(4).
      o an offense for which the maximum sentence is life imprisonment or death.
      o an offense for which a maximum term of imprisonment of ten years or more is prescribed in
      o ~~--~--------~~~~~~~~~~----~~~~--------~~~~~--~--~~~~~~--.*
           a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C.
              § 3142(1)(I)(A}{C), or comparable state or local offenses.
o (2) The offense described in finding (I) was committed while the defendant was on release pending trial for a federal, state or local offense.
o (3) A period of not more than five years has elapsed since the 0 date of conviction Drelease of the defendant from imprisonment
      for the offense described in finding (I).
o (4) Findings Nos. (I), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
         safety of (an) other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                               Alternative Findings (A)
     (I) There is probable cause to believe that the defendant has committed an offense
         ~ for which a maximum term ofimprisonment often years or more is prescribed in 21 U.S.C. Sec. 801 et seq.
         o under 18 U.S.C. § 924(c).
~ (2) The defendant has not rebutted the presumption established by finding I that no condition or combination ofconditions will reasonably assure
         the appearance ofthe defendant as required and the safety of the community.
                                                               Alternative Findings (B)
-£   (I) There is a serious risk that the defendant will not appear.
1'f-(2) There is a serious risk that the defendant will endanger the safety ofanother person or the community.



                                                                                                                                               "~"",,nrr!
                                                                                                                                               ~ ~~.";    .: t   \




                                                                                                                                 ~       ...     '.':.';";;
                                            Part II-Written Statement of Reasons for De~e:ion                                    rrI     ~               ~-~;
    I find that the credible testimony and information submitted at the hearing establishes by            clear and convincing ev~ce ~ a prepon­
derance of the evidence that

                                                                                  I




                                                   Part III-Directions Regarding Detention
     The defendant is committed to the custody ofthe Attorney General or his designated representative for confinement in a corrections facility separate,
to the extent pmcticable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a
reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge ofthe corrections facility shall deliver the defendant to the United States marshal for the purpose of an appearance
in connection with a court proceeding.


                April 19,2010                                                                 sf Cheryl R. Zwart
                     Date                                                                  Signature ofJudicial Officer
                                                                                      Cheryl R. Zwart, U.S. Magistmte Judge
                                                                                        Name and Title ofJudicial Officer
*Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951
el seq.); or (c) Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 955a).
